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                                              November 5, 2020               DOC #:
                                                                             DATE FILED: 11/5/2020

The Honorable Mary Kay Vyskocil U.S.D.J.
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:   Hayles v. Waldman Sagginario & Associates, PLLC
      Case No.: 1:16-cv-08919-MKV-SA

Dear Judge Vyskocil:

             Plaintiff, Gregory Hayles, and Defendant Waldman, Sagginario & Associates,
      PLLC, respectfully submit this joint letter requesting that the Court (1) reset the telephonic
      conference currently scheduled for October 9, 2020, and (2) extend the parties’ deadline to
      submit a joint pre-trial order until January 11, 2021, 21 days after the parties’ settlement
      conference with Magistrate Judge Aaron.

              On October 26, 2020 this Court entered an Order referring this matter to the
      Magistrate Judge for settlement (Dkt No. 111). Subsequently, this Court entered an Order
      setting a telephonic conference for November 9, 2020 at 11:00 a.m., and directed the parties
      to be prepared to discuss scheduling trial and all pre-trial matters.

              On November 4, 2020, Magistrate Judge Aaron entered an Order scheduling a
      settlement conference in this case for December 16, 2020 at 2:00 p.m. In light of the
      upcoming settlement conference, the parties respectfully request that the Court reset the
      October 9, 2020 telephonic conference and the deadline for the parties to submit their joint
      pre-trial order until 21 days after the parties’ settlement conference on December 16, 2020.

              Proceeding with trial preparation while simultaneously attempting to engage in
      good faith settlement negotiations may hinder the parties’ efforts to reach an amicable
      resolution and also may result in a waste of judicial resources.

             Rescheduling the telephonic status and the deadline to submit the pretrial order
      January 11, 2021 allows the parties to focus their time and resources on meaningful
      settlement efforts.




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       This is the parties’ first request for an adjournment of the November 9, 2020
telephonic conference as well as their first request for an extension of the pre-trial order
deadline. The undersigned has conferred with counsel for defendant, and counsel for
defendant joins in this requested relief.

                                             Respectfully submitted,


 s/Tiffany N. Hardy                            s/ Kelly Kalahar

 Tiffany N. Hardy                              Kelly Kalahar
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 s/Abraham Kleinman

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The parties’ request to adjourn the pretrial conference scheduled for November 9, 2020,
at 11:00 AM is DENIED. The parties should be prepared to discuss scheduling of trial
and all pretrial matters. The Court will consider settlement efforts in setting deadlines.


               11/5/2020




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